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                                                                                             E-FILED
                                                                  Monday, 21 March, 2022 03:36:22 PM
                                                                        Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O'NEAL, #N53022,                     )
                                           )
            Plaintiff,                     )
                                           )
      v.                                   )              No. 18-4063-SEM-TSH
                                           )
MANUEL ROJAS, et al.,                      )
                                           )
            Defendants.                    )

                DEFENDANTS’ PROPOSED JURY INSTRUCTIONS




                         [Remainder of page intentionally left blank.]
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       As to Plaintiff’s claim that the Defendants violated Plaintiff’s right to practice his religion

in violation of the First Amendment of the Constitution, Plaintiff has the burden of proving each

of the following propositions as to each defendant:

       First, that the defendant intentionally prohibited Plaintiff from abstaining from meat on

Fridays during the Lenten season, and

       Second, that Plaintiff had a sincerely held belief in the necessity of abstaining from meat

on Fridays during the Lenten season, and

       Third, that the defendant knew the tenets of Plaintiff’s sincerely held religious beliefs

included abstaining from meat on Fridays during the Lenten season, and

       Fourth, that the defendant acted as alleged because of hostility to Plaintiff’s Catholic

beliefs and not based on a legitimate penological justification.

       You are to consider these propositions as to each of the defendants separately. If you find

that Plaintiff has proved each of these things by a preponderance of the evidence as to any

defendant, then you should find for the Plaintiff and against that Defendant, and go on to

consider the question of damages.

       If on the other hand, you find that the Plaintiff has failed to prove any one of these things

by a preponderance of the evidence as to a Defendant, then you should find for Defendant, and

you will not consider the question of damages as to Defendant.




Defendants’ Alternate Number 20                                                    Given_____
I. P. I. No. 21.02.01 (modified) 21.02.02 (modified),                  Given as Modified_____
21.03 (modified);                                                                Refused_____
Turner v. Safley, 482 U.S. 78 (1987);                                          Withdrawn_____
Vinning –El v. Evans, 657 F.3d 591, 595 (7th Cir. 2011)
Johnson-Bey v. Lane, 863 F.2d 1308, 1311 (7th Cir. 1988)
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       An inmate’s right to voice concerns regarding the burdens on his practice of religion

while incarcerated is protected by the Constitution.


       Plaintiff claims that Defendant Rojas excluded Plaintiff from religious services for 6-8

months in retaliation for voicing concerns to Defendant Rojas about Catholics not receiving

religious diet accommodations during the Lenten season.


       To succeed on this claim, Plaintiff must prove each of the following four things by a

preponderance of the evidence:


           1. Plaintiff, in exercising his right to free speech, voiced concerns to Defendant

                Rojas about Catholics at Hill not receiving religious diet accommodations for

                Lent.

           2. Defendant Rojas intentionally excluded Plaintiff from one or more religious

                services.

           3.   Plaintiff confronting Defendant Rojas about Catholics at Hill not receiving

                religious diet accommodations for Lent was the reason that Defendant Rojas

                excluded Plaintiff from one or more religious services.

           4. Excluding Plaintiff from religious services would be likely to deter an average

                person in Plaintiff’s circumstances from engaging in similar protected speech.


       If you find that Plaintiff did not prove each of these things by a preponderance of the

evidence, then you must decide for Defendant Manuel Rojas.


       If you find that Plaintiff did prove each of these things by a preponderance of the

evidence, then you must consider whether Defendant has proved by a preponderance of the
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evidence that there were other reasons that would have led Defendant to exclude Plaintiff from

religious services even if Plaintiff had not confronted Defendant Rojas about religious diet

accommodations. If you find that Defendant proved this by a preponderance of the evidence,

then you must decide for the Defendant.




Defendants’ Alternate Number 21                                                    Given_____
Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019)                         Given as Modified____
                                                                                Refused ______
                                                                                Withdrawn ____
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       As to Plaintiff’s claims that Defendants violated his right to equal protection under the

Fourteenth Amendment to the Constitution, the Plaintiff has the burden of proving each of the

following propositions:

       First, that Defendants excluded Plaintiff from religious diet accommodations while

allowing similar situated individuals in custody to have dietary accommodations; and

       Second, that the Defendants applied the rules regarding religious diet accommodations,

differently to Plaintiff than to similarly situated individuals in custody because he was a

practicing Catholic; and

       Third, that the decision to treat Plaintiff differently than similarly situated inmates was

because he was a practicing Catholic, and not because of security or other legitimate penological

concerns;

       You are to consider these propositions as to each defendant separately. If you find that

Plaintiff has proved each of these things by a preponderance of the evidence as to any defendant,

then you should find for the Plaintiff and against that Defendant, and go on to consider the

question of damages.

       If on the other hand, you find that the Plaintiff has failed to prove any one of these things

by a preponderance of the evidence as to Defendant, then you should find for Defendant, and you

will not consider the question of damages as to Defendant.



Defendants Alternate Instruction 22                                                  Given_____
I. P. I. No. 21.02.01 (modified) 21.02.02 (modified),                     Given as Modified_____
21.03 (modified);                                                                  Refused_____
Grayson v. Schuler (666 F.3d 450 (7th Cir. 2012)                                Withdrawn_____
May v. Sheahan, 226 F.3d 876, 882 (7th Cir. 2000)

Hadi v. Horn, 830 F.2d 779, 784 (7th Cir. 1987)
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        If you find for Plaintiff, you may, but are not required to, assess punitive damages against

Defendants. The purposes of punitive damages are to punish a defendant for his or her conduct

and to serve as an example or warning to Defendants and others not to engage in similar conduct

in the future.

        Plaintiff must prove by a preponderance of the evidence that punitive damages should be

assessed against Defendants. You may assess punitive damages only if you find that his conduct

was malicious or in reckless disregard of Plaintiff’s rights. Conduct is malicious if it is

accompanied by ill will or spite, or is done for the purpose of injuring Plaintiff. Conduct is in

reckless disregard of Plaintiff’s rights if, under the circumstances, Defendants simply did not

care about Plaintiff’s rights.

        If you find that punitive damages are appropriate, then you must use sound reason in

setting the amount of those damages. Punitive damages, if any, should be in an amount sufficient

to fulfill the purposes that I have described to you, but should not reflect bias, prejudice, or

sympathy toward any party. In determining the amount of any punitive damages, you should

consider the following factors:

    •   the reprehensibility of Defendant’s conduct;

    •   the impact of Defendant’s conduct on Plaintiff;

    •   the relationship between Plaintiff and Defendant;

    •   the likelihood that Defendant would repeat or engage in the conduct if an award of

        punitive damages is not made;

    •   the relationship of any award of punitive damages to the amount of actual harm the

        Plaintiff suffered.

Defendant’s Alternate Instruction 27
7th Cir. P. I. 7.28
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       Prisoners retain the right to exercise their religion to the extent such exercise is consistent

with legitimate penological objectives. Not every religious group or sect within a prison must

have identical facilities or personnel. A special place of worship need not be provided to every

faith regardless of size, nor must a chaplain, priest or minister be provided without regard to the

extent of the demand. Department of Corrections officials may prohibit services led by an

inmate without a faith leader.




Defendants’ Proposed Instruction 27                                                Given_____
                                                                       Given as Modified_____
                                                                                 Refused_____
                                                                               Withdrawn_____

O’Lone v. Shabazz, 107 S.Ct. 2400, 2404 & 2407 (1987)
Cruz v. Beto, 92 S.Ct. 1079, 1081 n.2 (1972)
Young v. Lane, 922 F.2d 370, 377 (7th Cir. 1991)
Hadi v. Horn, 830 F.2d 779 (7th Cir. 1987)
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        You have heard evidence about whether a Defendant’s conduct violated an administrative

rule.

        You may consider this evidence in your deliberations as to Plaintiff’s claims. But

remember the issue is whether Defendants violated Plaintiff’s constitutional rights by not

providing him meatless meals during the Lenten Season; retaliated against him by precluding

him from attending religious servicers; or violated his rights by allegedly granting inmates of

other religions a religious diet, but not him.




Defendants’ Proposed Instruction 28                                                Given_____
7th Cir. P.I. 7.04                                                      Given as Modified_____
                                                                                 Refused_____
                                                                               Withdrawn_____
